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                        UNITED STATES DISTRICT COURT

                               DISTRICT OF MAINE


    UNITED STATES OF AMERICA,               )
                                            )
                                            )
    V.                                      )   CRIMINAL NO. 2:19-CR-123-DBH
                                            )
    DAMON FAGAN,                            )
                                            )
                           DEFENDANT        )


         DECISION AND ORDER ON DEFENDANT’S RENEWED MOTION FOR
          EXPEDITED AND COMBINED PLEA AND SENTENCING HEARING
                   VIA TELEPHONE OR VIDEOCONFERENCE


          Federal Criminal Rule 43 requires that a defendant be present in person

to plead guilty to a felony and be sentenced.       Fed. R. Crim. P. 43(a) (“the

defendant must be present”); United States v. Bethea, 888 F.3d 864, 866-67 (7th

Cir. 2018) (the in-person requirement is not waivable). During the COVID-19

pandemic, however, Congress has authorized federal judges to take a felony

guilty plea and sentence by video or teleconference if the defendant consents

after consulting counsel, and if “the district judge in a particular case finds for

specific reasons that the plea or sentencing in that case cannot be further

delayed without serious harm to the interests of justice.”1 To date, judges in this

District have used that emergency authority to take felony guilty pleas and




1Coronavirus Aid, Relief, and Economic Security (CARES) Act, Pub. L. No. 116-136,
§§ 15002(b)(2)(A), (b)(4), 134 Stat. 281, 528-29 (2020).
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sentence defendants by telephone or videoconference when the parties have

recommended “time served” sentences.

      This case presents the question whether I should use that authority when

a defendant is confronting a much longer sentence but wants to appeal a pre-

trial ruling on a motion to suppress because, if he is successful on the appeal,

he probably could avoid a conviction and sentence altogether. I conclude that,

at this stage—where his federal time in custody is only about to begin—his desire

to appeal does not meet the CARES Act requirement for a “specific reason[ ] that

the plea or sentencing in [this] case cannot be further delayed without serious

harm to the interests of justice” to justify dispensing with the in-person hearing

requirement.

                         FACTS AND PROCEDURAL HISTORY

      A grand jury indicted the defendant, Damon Fagan, for possessing heroin

on January 6, 2019, with the intent to distribute it in violation of 21 U.S.C.

§ 841(a)(1) (ECF No. 24). On February 6 and 11, 2020, before the COVID-19

pandemic struck, I conducted an evidentiary hearing on Fagan’s motion to

suppress evidence derived from a traffic stop. I denied the motion by bench

ruling on February 11 (ECF No. 75). Fagan and the government then agreed to

a conditional guilty plea under Rule 11(a)(2), preserving Fagan’s ability to appeal

my adverse suppression ruling if I should accept the plea. That plea hearing was

originally scheduled for March 30 (ECF No. 81), but it was delayed by the COVID-

19 pandemic’s interruption of all in-person court proceedings in this District. At

Fagan’s written request, I approved the pre-plea preparation of a presentence


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report under Rule 32(e) (ECF No. 93). According to the presentence report, Fagan

has a high criminal history, Category V, and his Guideline range is 30-37

months, although Fagan tells me that it may be increased to 33-41 months based

upon further criminal history information coming to the Probation Officer’s

attention that would elevate his Criminal History to Category VI. Def.’s Mot. at

3 n.1 (ECF No. 97). Until now, Fagan has been serving a state sentence and has

waived his right to a federal detention hearing (ECF No. 21). But he is due to

satisfy the state sentence any day now, PSR ¶ 30, and then he will be detained

federally. He asks that I accept his conditional guilty plea and sentence him by

videoconference as soon as possible so that he may quickly pursue his appeal of

my suppression ruling. Def.’s Mot. at 3-4.2 The government does not object.

Gov’t’s Resp. at 2 (ECF No. 98).3

                                            ANALYSIS

       Unless the CARES Act emergency provision applies, the law is clear that a

defendant’s physical presence is required for a felony guilty plea and sentencing.

Fed. R. Crim. P. 43(a) (“must be present”).4 The Seventh Circuit has held that a


2 Fagan has been assiduous in seeking expedited treatment, filing his first motion for a guilty

plea hearing without his physical presence even before the CARES Act permitted
videoconferencing for felony guilty pleas that satisfy its criteria. Mot. for Expedited Hr’g (ECF
No. 84) (filed March 25, 2020); CARES Act, Pub. L. No. 116-136, 134 Stat. 281 (2020) (enacted
March 27, 2020).
3 The government denies that the delay in Fagan’s ability to appeal the suppression ruling would

result in serious harm to the interests of justice. Gov’t’s Resp. at 1-2. Its lack of objection to a
videoconference plea and sentence is based instead on the court’s authority to impose a time
served sentence, id. at 2, although the government opposes such a sentence.
4 Although it is a Rule, under the Rules Enabling Act it has the force of law. See 28 U.S.C.

§ 2072; Bank of Nova Scotia v. United States, 487 U.S. 250, 255 (1988) (Federal Rule of Criminal
Procedure 52(a) (harmless error rule) is, “in every pertinent respect, as binding as any statute
duly enacted by Congress, and federal courts have no more discretion to disregard the Rule’s
mandate than they do to disregard constitutional or statutory provisions”); 1 Charles Alan Wright


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defendant cannot waive this physical presence requirement for sentencing, even

for serious health issues. Bethea, 888 F.3d at 865, 867. In doing so, the Seventh

Circuit elaborated upon the importance of physical presence:

              Our decision is supported by the unique benefits of physical
              presence. As the Sixth Circuit explained, “[b]eing physically
              present in the same room with another has certain intangible
              and difficult to articulate effects that are wholly absent when
              communicating by video conference.” Likewise, the Fourth
              Circuit reasoned that “virtual reality is rarely a substitute for
              actual presence and that, even in an age of advancing
              technology, watching an event on the screen remains less
              than the complete equivalent of actually attending it.”

              This Court has also recognized the value of the defendant
              and judge both being physically present In the context of
              revocation of supervised release via videoconferencing, we
              noted that “[t]he judge’s absence from the courtroom
              materially changes the character of the proceeding.” The
              same is true if the defendant is the person missing. “The
              important point is that the form and substantive quality of
              the hearing is altered when a key participant is absent from
              the hearing room, even if he is participating by virtue of a
              cable or satellite link.” A “face-to-face meeting between the
              defendant and the judge permits the judge to experience
              ‘those impressions gleaned through . . . any personal
              confrontation in which one attempts to assess the credibility
              or to evaluate the true moral fiber of another.’” “Without this
              personal interaction between the judge and the defendant—
              which videoconferencing cannot fully replicate—the force of
              the other rights guaranteed” by Rule 43 is diminished.

Id. at 867 (citations omitted). Other cases affirm the importance of a face-to-face

meeting for these life-altering decisions, counting videoconferences an imperfect

substitute. See, e.g., United States v. Williams, 641 F.3d 758, 764 (6th Cir.

2011) (“As our sister circuits have recognized, and anyone who has used video

conferencing software is aware, ‘virtual reality is rarely a substitute for actual



& Arthur R. Miller, Federal Practice & Procedure § 32 (4th ed. 2020) (“The Criminal Rules have
the force and effect of law.”).


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presence.’”).    From thirty years of federal sentencing, I can attest to the

importance of seeing the defendant in the same room at sentencing.5 Physical

presence makes unavoidable the recognition that—in sentencing—one human

being sits in judgment of another, with a dramatic impact on the future of a

living, breathing person, not just a face on a screen.6

       But the highly contagious nature of COVID-19 has made it impossible to

conduct the in-person hearings that Rule 43 requires, and this District has not

yet resumed them. Under the CARES Act, Congress has created an exception to

the in-person appearance requirement but only if, first, the Judicial Conference

finds an emergency and the Chief Judge of the District finds that in-person

hearings would seriously jeopardize public health and safety. CARES Act, Pub.

L. No. 116-136, § 15002(b)(2)(A), 134 Stat. 281, 528-29 (2020).                   Both those

requirements are satisfied here. See Judiciary Authorizes Video/Audio Access

During     COVID-19       Pandemic,      United    States     Courts    (Mar.    31,    2020),

https://www.uscourts.gov/news/2020/03/31/judiciary-authorizes-videoaudio

-access-during-covid-19-pandemic; D. Me. General Order 2020-4 at 2. Congress

demanded still more to justify waiving the in-person requirement: the defendant

must consent after consulting with counsel. That requirement too is satisfied

here; Fagan’s lawyer tells me he has consented.                Mot. at 6.      But Congress

imposed still one more requirement: “the district judge in a particular case finds




5 During the pandemic but before videoconferencing became technologically available in this
District, I conducted one plea and sentencing (time served) by telephone conference. I found the
process unsatisfactory in a number of ways.
6 In this case there are no victims, whose physical presence also makes a difference.



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for specific reasons that the plea or sentencing in that case cannot be further

delayed without serious harm to the interests of justice.”                     CARES Act

§ 15002(b)(2)(A) (emphasis added). This is obviously a case-specific standard,

not a broad-based permission to use video and telephone conferencing.

       The “interests of justice” phrase is not unique to the CARES Act. See, e.g.,

28 U.S.C. § 1863(b)(7) (authorizing district judges to keep confidential the names

drawn from the jury wheel “in any case where the interests of justice so require”);

18 U.S.C. § 3006A(a)(2) (“Whenever . . . the court determines that the interests

of justice so require, representation may be provided for any financially eligible

person.”). Applying those other statutes where that phrase appears, the First

Circuit has held that it requires an exacting, case-specific analysis. In re Globe

Newspaper Co., 920 F.2d 88, 93 (1st Cir. 1990) (construing the § 1863(b)(7)

“interests-of-justice standard as requiring that the trial court find specific and

convincing reasons why, in the particular case, the juror identities are required

to be withheld”); United States v. Mala, 7 F.3d 1058, 1064 (1st Cir. 1993) (only

the “rare” case will satisfy the § 3006A(a)(2) “interests of justice” standard).

       The judges of this District have found the CARES Act requirement for

videoconference pleas and sentencings satisfied in particular cases where the

government has requested a sentence only of time served, reasoning that

extending imprisonment because the pandemic delays an in-person hearing

would seriously harm the interests of justice in its deprivation of liberty.7



7Some other districts have done the same. See, e.g., United States v. Collazo, No. 2:19-00120,
2020 WL 1905293, at *2 (S.D.W. Va. Apr. 17, 2020).

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      I recognize that the current pandemic, coming after the Seventh Circuit’s

2018 statement in Bethea, has compelled individuals and businesses to become

increasingly accustomed to videoconferencing of various sorts to stay in touch

with friends and family and to conduct business. But I am not prepared to

conclude that this increased familiarity eliminates the risk that the loss of

physical presence will adversely affect the proceeding—for example, making it

easier for a judge to impose a harsher sentence on a face on a computer monitor

than on an individual in the judge’s physical presence.    Colleagues in other

districts have hesitated to find the CARES Act exception satisfied in other than

time-served cases. See, e.g., United States v. Ruiz, No. CR20-5002, 2020 U.S.

Dist. LEXIS 89870, at *3 (W.D. Wash. May 21, 2020) (desire to be sentenced

quickly so as to serve the sentence in the defendant’s home state of California

rather than continue to be detained in the state of Washington insufficient—“The

CARES Act presents a limited exception to what is ordinarily a mandatory

requirement that a plea hearing be conducted in person. Courts have been

sparing in applying this exception. Courts have granted remote hearings where

the delay required for an in-person hearing would result in a defendant’s

detention beyond the range of applicable sentencing guidelines.”); United States

v. Short, No. 3:15-cr-0174, 2020 WL 1969395, at *2 (D. Conn. Apr. 24, 2020)

(40 criminal defendants awaiting in-person sentencing “as there are no

compelling reasons to conduct them over videoconference”); United States v.

Harry, No. 19-cr-535, 2020 WL 1528000, at *2 (E.D.N.Y. Mar. 31, 2020) (denying

request for a remote hearing where Guideline range was 24 to 30 months); United


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States v. Emory, No. 19-00109, 2020 WL 1856454, at *2 (D. Haw. Apr. 13, 2020)

(denying request for telephonic hearing where Guideline range was 12 to 18

months); United States v. Jones, No. 19-225, 2020 WL 1644257, at *1 (D. Minn.

Apr. 2, 2020) (denying request for remote sentencing; “[i]n light of his Guidelines

range, the Court will schedule his sentencing as soon as practicable”).8

       Until now, the postponement of Fagan’s conditional plea and sentence has

posed no risk of serious harm to the interests of justice in his case because he

could not be released while serving his state sentence. But that state sentence

is about to expire, and therefore any further imprisonment must be justified on

the basis of the federal charge to which he wants to plead guilty. If I accept his

conditional guilty plea, the Guideline range (30 to 37 or 33 to 41 months) means

he has a substantial amount of prison time ahead of him.9                            Thus, the

postponement of plea and sentence still does not on its own threaten serious

harm to the interests of justice. But Fagan suggests a successful appeal of my




8 United States v. Cohen, No. 19CR741, 2020 WL 2539115, at *2 (S.D.N.Y. May 19, 2020),
arguably supports a broader reading. There, the court concluded that delaying the defendant’s
sentencing until it could be done in person would do “serious harm to the interests of justice”
because: (1) the defendant was on home confinement awaiting sentencing, and would probably
not earn credit for that time; (2) the defendant was not a citizen, so his immigration status and
employment were “in limbo” while he waited; and (3) “[d]elaying every sentencing would multiply
the existing backlog of cases in the federal court system and generate a deluge of hearings once
in-person proceedings can safely resume.” Likewise, in United States v. Dones, No. 19CR169,
2020 U.S. Dist. LEXIS 91889, at *5-6 (S.D.N.Y. May 26, 2020), the judge found the CARES Act
satisfied where the defendant sought a time-served sentence (the government sought more time),
the lack of resolution of the federal case was preventing progress of a related state prosecution,
and the government agreed that despite its opposition to time served, there were mitigating
factors.
9 Fagan says he will seek a variant sentence below the Guideline range.          Mot. at 5. The
government says it will seek a guideline sentence. Gov’t’s Resp. at 2 (ECF No. 98). I will not
resolve that disagreement until the plea hearing.


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suppression ruling would set him free.10                 If he wins the appeal and the

government cannot preserve his conviction (I assume that without the evidence

Fagan wants suppressed, the government would not have a winning case), then

any detention after his state sentence expires could be called unjust.11 Is that a

“specific reason” that, in the case of Fagan, threatens serious harm to the

interests of justice unless I use videoconferencing to take his plea and sentence

him remotely now, so that he can immediately appeal?

       Weighing the prospect of a successful appeal against the justification for

detention is not a creature of the pandemic. Defendants convicted after trial or

who enter conditional guilty pleas often think or hope they have winning issues

on appeal that will erase their trial court convictions. The Bail Reform Act of

1984 dealt with such cases. It allows for release pending appeal only if the

district judge finds that the appeal “raises a substantial question of law or fact

likely to result in—(i) reversal, (ii) an order for a new trial, (iii) a sentence that

does not include a term of imprisonment, or (iv) a reduced sentence to a term of

imprisonment less than the total of the time already served plus the expected

duration of the appeal process.”            18 U.S.C. § 3143(b)(1)(B).         Fagan does not

satisfy any those conditions.12 In a case like Fagan’s involving drug trafficking,


10 His motion does not say that in so many words, but that is the obvious impetus for the
conditional guilty plea.
11 On the other hand, Fagan apparently will admit factual guilt in his conditional plea (this U.S.

Attorney’s Office customarily does not accept Alford pleas). Thus, his challenge is based solely
upon the exclusionary rule, not innocence. Weighing serious harm to the interests of justice in
this case involves application of the exclusionary rule, not a claim of innocence.
12 Although every district court decision is subject to reversal on appeal, my ruling on the motion

to suppress was fact-bound and unlikely to be reversed by an appellate court. I can only surmise
that Fagan hopes the existence of a dashcam video of the pursuit and stop will persuade the
appellate court that the trooper’s testimony is not reliable. I found the trooper’s testimony to be


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 “exceptional reasons” must also be shown. 18 U.S.C. §§ 3143(b)(2), 3145(c).13

 Those requirements are pertinent in informing my assessment whether Fagan’s

 continued detention while awaiting an in-person hearing threatens “serious

 harm to the interests of justice.”14

        In fact, if this case qualifies for dispensing with the in-person hearing

 requirement, then every conditional plea and every conviction after trial should

 qualify. That outcome is too broad for the CARES Act language, where Congress

 required that the judge “in a particular case finds for specific reasons” that the

 “interests of justice” will be “serious[ly] harm[ed].” I do not find that this is “a

 particular case” where there are “specific reasons that the plea or sentencing in

 that case cannot be further delayed without serious harm to the interests of

 justice.”15




 credible and found the dashcam recording to be supportive of the trooper or at worst ambiguous.
 But I am aware of Scott v. Harris, 550 U.S. 372 (2007), where the Supreme Court used its own
 viewing of a video to overrule a trial judge’s and court of appeals’ interpretation.
 13 Fagan has not yet claimed he would be entitled to release pending appeal under section

 3143(b). He does say that after final judgment he will seek bail on appeal based in part upon
 the risks of the COVID-19 virus at the county jail where he is confined. Mot. at 5-6.
 14 Fagan says that “it is possible that Mr. Fagan could serve his entire sentence without the

 ability to appeal the denial of his motion to suppress.” Mot. at 4. But it is too soon to say that
 the pandemic will delay things beyond the expiration of his likely sentence or that it will impair
 his ability to present his appeal. See United States v. DeLeon, 444 F.3d 41, 57 (1st Cir. 2006)
 (discussing effect of delayed transcript on defendant’s ability to present his appeal).
 15 Fagan’s current optimism about the merits of his appeal understandably prompts his desire

 to move forward quickly. But if I take his guilty plea and sentence him by videoconference, and
 if he loses his appeal (as seems likely), he will then focus on the sentence he received and may
 have remorse over his decision to waive an in-person hearing, concluding that he might have
 done better had he waited. That could prompt a later collateral motion to attack the validity of
 his earlier consent and the effectiveness of his lawyer, laying greater weight at that point on the
 stringency of the CARES Act requirements that now he says he meets.


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                                         CONCLUSION

        Accordingly, the defendant’s Renewed Motion for Expedited and Combined

 Plea and Sentencing Hearing Via Telephone or Video Conferencing is DENIED.

 The plea and sentencing will be scheduled as soon as in-person hearings resume.

 In light of the ever-evolving nature of the pandemic and responses to it, however,

 the denial of the motion is without prejudice should the delay of in-person

 hearings be substantially extended such that this becomes “a particular case”

 where there are “specific reasons” that further delay would cause “serious harm

 to the interests of justice.”16

        SO ORDERED.

        DATED THIS 2ND DAY OF JUNE, 2020

                                                   /S/D. BROCK HORNBY
                                                   D. BROCK HORNBY
                                                   UNITED STATES DISTRICT JUDGE




 16 Fagan concedes that a hearing in June or July “would not likely provide cause for the Court

 to grant his motion.” Mot. at 4. There will be no in-person hearings in June; July has not yet
 been decided but resuming in-person hearings then seems unlikely. I cannot predict what will
 happen thereafter. I point out that I ruled promptly from the bench in February on the motion
 to dismiss. Had I taken the matter under advisement, requested new briefs and/or a transcript,
 and issued a written opinion—as judges sometimes do—then the suppression ruling, Fagan’s
 request for a conditional plea, subsequent preparation of a presentence report, and scheduling
 of a sentencing hearing could easily have run into August or September.

                                                                                            11
